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               EXHIBIT 7
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   NO:  UWY-CV18-6046437 S                  SUPERIOR COURT
   SHERLACH, WILLIAM                        JUDICIAL DISTRICT
                                            OF FAIRFIELD
   y.                                       AT ~RIDGEPORT, CONNECTICUT
   JONES, ALEX, ET AL.                      JUNE 18, 2019
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   NO:   UWY-CV1 8-6046438 S                SUPERI OR COURT
   LAFFERTY, ERICA, ET AL.                  JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                       AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX EMRIC, ET AL.                JUNE 18, 2019
   •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
   NO:   UWY-CV18-6046436 S                 SUPERIOR COURT
   SHERLACH, WILLIAM, ET AL.                JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                       AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX EMRIC, ET AL.                JUNE 18, 2019

              BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE
                              E X C E R P T

   A P P E A R A N C E S :
      Representing the Plaintiffs:
           ATTORNEY CHRISTOPHER MATTEI
           ATTORNEY WILLIAM BLOSS
           ATTORNEY JOSHUA KOSKOFF
           ATTORNEY MATTHEW BLUMENTHAL
           Koskoff, Koskoff & Bieder, PC
           350 Fairfield Avenue
           Bridgeport, CT 06604

      Representing the Defendants Alex Jones; Infowars, LLC; Free
      Speech Systems, LLC; Infowars Health, LLC; and Prison Planet
      TV, LLC:
          ATTORNEY ZACHARY REILAND
          ATTORNEY NORMAN PATTIS
          Pattis & Smith, LLC
          383 Orange Street
          1 st Floor
          New Haven, CT 06511

      Representing the Defendant Cory Sklanka:
          ATTORNEY KRISTAN JAKIELA
          Regnier, Taylor, Curran & Eddy
          100 Pearl Street
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          Hartford, CT 06103

      Representing the Defendant Midas Resources, Inc.:
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          1010 Washington Boulevard
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                                        Recorded By:
                                        Colleen Birney
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                                        Colleen Birney
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                                        1061 Main Street
                                        Bridgeport, CT 06604
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 1      (EXCERPT)

 2                    THE COURT:    All right.    So I'm going to start

 3              with the discovery issues.

 4                    Putting aside the fact that the documents the

 5              Jones defendants did produce contained child

 6              pornography, putting aside the fact that the Jones

 7              defendants filed with the Court a purported affidavit

 8              from Alex Jones that was not in fact signed by Alex

 9              Jones, the discovery in this case has been marked

10              with obfuscation and delay on the part of the

11              defendants, who, despite several Court-ordered

12              deadlines as recently as yesterday, they continue in

13              their filings to object to having to, what they call

14              affirmatively gather and produce documents which

15              might help the plaintiffs make their case.          Despite

16              over approximately a dozen discovery status

17              conferences and several Court-ordered discovery

18              deadlines, the Jones defendants have still not fully

19              and fairly complied with their discovery obligations.

20                    By way of one example, on June 10 th , counsel for

21              the Jones defendants stated in their filing that Alex

22              Jones' cellphone had only been searched for emails,

23              not for text messages or other data.         In their June

24              17 filing, defendants still try to argue with respect

25              to the text messages that there is little to no

26              personal nexus between the text messages and the

27              litigation, and that the plaintiffs are simply prying
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 1              into the Alex Jones defendants' personal affairs.

 2              But the discovery objections were ruled"on by the

 3              Court months ago and the defendants still have not

 4              fully and fairly complied.

 5                      Also, as another example, the Google Analytics

 6              data was ordered to be produced.        And this is a

 7              Google Analytics account that had to be created and

 8              set up by and utilized, according to the testimony,

 9              by some of the Jones defendants.        Only a 35-page

10              report was produced.      In their June 17 filing,      the

11              Jones defendants apparently say that they don't

12              possess the data themselves and they should not have

13              to get it from Google because Google holds Alex Jones

14              in contempt.     And anything that Google generated

15              would be, and I quote, inherently unreliable,

16              unquote.     And again, the Jones defendants miss the

17              mark.     They were ordered to produce that data.

18                      Our rules of practice require a party to produce

19              materials and information, quote, within their

20              knowledge, possession, or power; and it is clearly

21              within the power of the Jones defendants to obtain

22              the information from Google if, as they claim, they

23              don't possess it themselves.       So their objection is

24              too late and their failure to fully and fairly comply

25              is inexcusable.

26                      So in short, we've held approximately a dozen

27              discovery status conferences.       The Court's entered
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 1              discovery deadlines, extended discovery deadlines,

 2              and discovery deadlines have been disregardeli by the

 3              Jones defendants, who continue to object to their

 4              discovery and failed to produce that which is within

 5              their knowledge, possession, or power to obtain.            And

 6              again, among the documents that they did produce

 7              contained images of child pornography.

 8                    I also note that the Jones defendants have been

 9              on notice from this Court both on the record and in

10              writing in written orders that the Court would

11              consider denying them their opportunity to pursue a

12              special motion to dismiss if the continued

13              noncompliance continued.

14                    Now with respect to the plaintiffs' request for

15              immediate review and the Jones defendants' objections

16              thereto, as I've said, I've reviewed the -- both

17              broadcasts several times.       The law is clear in

18              Connecticut and elsewhere, for that matter, that the

19              Court has authority to address out-of-court bad-faith

20              litigation misconduct where there is a claim that a

21              party harassed or threatened or sought to intimidate

22              counsel on the other side.       And indeed, the Court has

23              the obligation to ensure the integrity of the

24              judicial process and functioning of the Court.

25                    So if Mr. Jones truly believed that Attorney

26              Mattei or anyone else in the Koskoff firm planted

27              child pornography trying to frame him, the proper
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 1              course of action would be to contact the authorities

 2              and/or to have your attorney file the appropriate

 3              motions in the existing case .       Just by way as an

 4              example, the Jones defendants here could have filed a

 5              motion asking that the lawsuits be dismissed for that

 6              reason.

 7                    What is not appropriate, what is indefensible,

 8              unconscionable, despicable, and possibly criminal

 9              behavior is to accuse opposing counsel, through a

10              broadcast, no less, of planting child pornography,

11              which is a serious felony.       And to continue with the

12              accusations in a tirade or rant for approximately 20

13              minutes or so.

14                    Now, because I want to make a good record for

15              appeal, I'm going to refer to certain portions of the

16              transcript of the website.       And I would note that Mr.

17              Jones refers to Attorney Mattei as a Democratic-

18              appointed US attorney, holds up on the camera

19              Attorney Mattei's Wikipedia page which indicates that

20              he is a Democrat, and puts the camera on the website

21              page, which looks like it's from the law firm.

22                    Alex Jones states: what a nice group of

23              Democrats.    How surprising, what nice people.        Chris

24              Mattei, Chris Mattei.      Let's zoom in on Chris Mattei.

25               Oh, nice, little Chris Mattei.        What a good

26              American.    What a good boy.     You'll think you'll put

27              me on.
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 1                     Now, the transcript doesn't reflect this, but

 2              when I listened to the broadcast, I heard,         I'm going

 3              to kill.     Now, that's not in the transcript, but that

 4              is my read and understanding and what I heard in the

 5              broadcast.

 6                     He continues to say: anyways,      I'm done.    Total

 7              war.     You want it, you got it.     I'm not into kids

 8              like your Democratic Party, you cocksuckers, so get

 9              ready.

10                     And during this particular tirade, he slammed

11              his hand on Attorney Mattei's picture, which was on

12              the camera at that point.

13                     He continues on shortly thereafter: the point

14              is,    I'm not putting up with these guys anymore, man,

15              and their behavior because I'm not an idiot.           They

16              literally went right in there and found this hidden

17              stuff.     Oh, my god, oh, my god, and they're my

18              friends.     We want to protect you now, Alex.        Oh,

19              you're not going to get into trouble for what we

20              found.     F you, man,   F you to hell.    I pray God, not

21              anybody else, God visit vengeance upon you in the

22              name of Jesus Christ and all the saints.          I pray for

23              divine intervention against the powers of Satan.

24                     I literally would never have sex with children.

25               I don't like having sex with children.          I would

26              never have sex with children.        I am not a Democrat.

27              I am not a Liberal.      I do not cut children's genitals
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 1              off like the left does.
                                                                  '
 2                      Further on, ref~rring to the person who sent the

 3              child porn, he says: I wonder who the person of

 4              interest is.     Continues to say: oh, no.       Attorney

 5              Pattis says: look, are you showing Chris Mattei's

 6              photograph on here; and the record should reflect

 7              that when Alex Jones said I wonder who the person of

 8              interest is, Attorney Mattei's photo was on the

 9              camera.     Again, referring to who planted the child

10              pornography.     Then Alex Jones says: oh, no, that was

11              an accidental cut.      He's a nice Obama boy.        He's a

12              good -- then Attorney Pattis cuts him off.            Attorney

13              -- Alex Jones goes on to say: he's a white Jew-boy

14              that thinks he owns America.

15                      Later on in the broadcast, Alex Jones says,

16              quote, the bounty is out, bitches.          And you know your

17              feds,    they're going to know you did it.       They're

18              going to get your ass you little dirt bag.            One

19              million, bitch, it's out on your ass.

20                      Shortly thereafter, he says: a million dollars

21              is after them.     So I bet you'll sleep real good

22              tonight, little jerk, because your own buddies are

23              going to turn you in and you're going to go to

24              prison, you little white Jew-boy jerk-off son of a

25              bitch.     I mean, I can't . handle them.    They want more,

26              they're going to get more.       I am sick of these

27              people, a bunch of chicken-craps that have taken this
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 1              country over that want to attack real Americans.

 2                    And those are just portions of the transcript

 3              that the Court relied on.       The Court has no doubt

 4              that Alex Jones was accusing Plaintiffs' Counsel of

 5              planting the child pornography.

 6                    Again, these are just a few examples where Jones

 7              either directly harasses or intimidates Attorney

 8              Mattei, repeatedly accuses Plaintiffs' Counsel of

 9              requesting the metadata so they could plant the child

10              pornography, continues to call him a bitch, a sweet

11              little cupcake, a sack of filth, tells him to go to

12              hell, and the rant or tirade continues with frequent

13              declarations of war against Plaintiffs' Counsel.

14                    I reject the Jones defendants' claim that Alex

15              Jones was enraged.      I disagree with Attorney Pattis's

16              representation here.      I find based upon a review of

17              the broadcast clips that it was an intentional,

18              calculated act of rage for his viewing audience.            So

19              -- and I note as Plaintiffs' Counsel pointed out,

20              that Alex Jones was the one who publically brought

21              the existence of the child pornography to light on

22              his Infowars show.

23                    But putting that aside, putting aside whether it

24              was -- he was in a real rage or whether he was acting

25              out rage, it doesn't really matter for the purposes

26              of the discussion whether he was truly enraged or

27              not, because the 20-minute deliberate tirade and
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 1           harassment and intimidation against Attorney Mattei

 2           and his firm is unacceptable ahd sanctionable.          And

 3           the Court will sanction here.

 4                So for all these reasons, the Court is denying

 5           the Alex Jones defendants the opportunity to pursue

 6           their special motions to dismiss and will award

 7           attorney's fees upon further hearing and the filing

 8           of affidavits regarding attorney's fees.         I would

 9           note that the attorney's fees will be related only to

10           the conduct relating to the child pornography issue

11           and not for the discovery failures.

12                At this point, I decline to default the Alex

13           Jones defendants, but I will -- I don't know how

14          clearly I can say this.       As this case progresses, and

15          we will get today before you leave a trial date in

16          the case now and a scheduling order.         As the

17          discovery in this case progresses, if there is

18          continued obfuscation and delay and tactics like I've

19          seen up to this point, I will not hesitate after a

20          hearing and an opportunity to be heard to default the

21          Alex Jones defendants if they from this point forward

22          continue with their behavior with respect to

23          discovery.

24                So I'm going to call other matters now.          I'm

25          going to ask that you -- that there not be any

26          conversations in the courtroom because I do have

27          other matters to call.       I'm going to ask Counsel to
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 1           work on a scheduling order, pick a trial date.          I am

 2           going to need to see it before you 'leave.        So if you

 3           could maybe do that in another room, and then I'll

 4           come back on the record for that.

 5

 6                                 ******
 7                 (END OF EXCERPT)

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16                          THE RO ORABLE BARBARA N. BELLIS, JUDGE

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   NO:  UWY-CVlB-6046437 S                  SUPERIOR COURT
   SHERLACH, WILLIAM                        JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.          .                            AT BRIDGEPORT~ CONNECTICUT
   JONES, ALEX, ET AL.                   : JUNE 18, 2019
   •••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
   NO:   UWY-CVlB-6046438 S                 SUPERIOR COURT
   LAFFERTY, ERICA, ET AL.                  JUDICIAL DISTRICT
                                            OF FAIRFIELD
   v.                                       AT BRIDGEPORT, CONNECTICUT
   JONES, ALEX EMRIC, ET AL.                JUNE 18, 2019
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   NO:   UWY- CVl B-6046436 S               SUPERIOR COURT
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   SHERLACH, WILLIAM, ET AL.                JUDICIAL DISTRICT
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   JONES, ALEX EMRIC, ET AL.                JUNE 18, 2019




                          C E R T I F I C A T I O N




            I hereby certify the foregoing pages are a true and

   correct transcription of the audio recording of the above-

   referenced case, heard in Superior Court, Judicial District of

   Fairfield, at Bridgeport, Connecticut, before the Honorable

   Barbara N. Bellis, Judge, on the 18 th day of June, 2019.




            Dated this 18 th day of June, 2019, in Bridgeport,

   Connecticut.




                                         Colleen Birn y
                                         Court Re cordi ng
